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UNITED STATES DISTRICT COURT, MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

NIVALDO ALVARENGA SOARES JUNIOR,
Petitioner,

Vv. CASE NO.
NARA FERNANDA GONCALVES,

Respondent.

VERIFIED PETITION FOR THE RETURN OF MINOR CHILDREN PURSUANT TO
INTERNATIONAL TREATY AND FEDERAL STATUTE

Petitioner, NIVALDO ALVARENGA SOARES JUNIOR, by and through
his undersigned counsel, and in conjunction with a Motion for
Temporary Injunction and Issuance of Arrest Warrant filed
contemporaneously herewith, petitions this Court for the expedited
return to Brazil of his twelve year old D.M.G.A. and eleven year
old J.M.G.A. The children’s mother, Respondent, NARA FERNANDA
GONCALVES abducted the children from Brazil by stealth and is
wrongfully retaining the children in Melbourne, Florida, and
pursuant to International Treaty and 42 U.S.C. Section 11601, et

seq., Petitioner states:

THE PARTIES

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. The children are currently twelve and eleven years old and have
resided in Brazil since birth. Petitioner is the children’s
biological father and Respondent is the biological mother.

. Petitioner is a native Brazilian and has resided in Brazil since
the children were born. He holds a valid Brazilian passport and
is employed in advertising, still residing in Brazil. Petitioner
holds a visa for travel to the United States.

. Respondent is a native Brazilian and has resided in Brazil since
before the children were born until 2018. Respondent holds a
Brazilian passport. Respondent wrongfully took the children from
Petitioner’s custody, ostensibly for a vacation and has since been
wrongfully retaining the children in Melbourne, Florida.

BACKGROUND

. Petitioner and Respondent had an ongoing relationship that
resulted in the birth of two children in 2010 and 2011. Petitioner
was exercising parental custodial rights to the children under
court order when Respondent convinced Petitioner to bring them to
Florida for a vacation in December 2021.

. Petitioner returned to Florida to regain custody of the children
in February 2022. Respondent refused. She claimed to have a court
order from Brazil giving her custody. In March 2022, the Brazilian
courts set aside the custody order for Respondent. Petitioner
came to Florida on March 12, 2022 to retrieve the children, since

his custody rights had been recognized and restored by the

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Brazilian court. Respondent refused to release the children and
wrongfully retains them as of the date of this petition. The
custody order from Brazil dated August 10, 2018 is attached hereto
as Exhibit A, with translation. The order setting aside
Respondent’s order of custody dated March 9, 2022, is attached

hereto as Exhibit B.

. Petitioner has made numerous attempts to secure custody of the

children to return to their home in Brazil. Respondent has been

nonresponsive to these requests.

_ Petitioner has exercised his objection to the children remaining

in the United States.

. Respondent has begun making up lies about Petitioner’s fitness as

a parent in response to the United States State Department inquiry

of the children’s status and possible return to Brazil.

_ Petitioner has vigilantly and diligently pursued the return of the

children. This petition is being filed after securing the
assistance of counsel.

Petitioner is prepared to come to Florida to retrieve custody
of his children, should this Court order their arrest pursuant to
the temporary restraining order requested.

RESPONDENT’ S DEMONSTRATED FLIGHT RISK AND CONTEMPORANEOUS MOTION
FOR TEMPORARY RESTRAINING ORDER AND ARREST OF CHILDREN

Based on the facts as set forth above and in more detail

below, there is a grave and substantial likelihood that Respondent

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will continue to violate international law and further violate
Petitioner’s parental and custodial rights with respect to the
children. Respondent’s actions evidence a complete disregard for
the rule of law. In light of Respondent’s past and present actions,
to include prior flight and continued concealment of the children,
Respondent is a significant and otherwise confirmed, flight risk.
Due to the Respondent’s demonstrated propensities and flight
risk, Petitioner has filed this Verified Petition in conjunction
with a contemporaneous Ex Parte Motion for Temporary Injunction
and Application for Arrest Warrant and Temporary Custody, under
which, and together with this Verified Petition, Petitioner
respectfully request that this Court enter an order which provides

for the following:

. Upon a finding that Petitioner has made a prima facie case for his

Fx Parte Motion for Temporary Restraining Order and Application
for Arrest Warrant and for Temporary Custody, and that Respondent
presents a flight risk if given advance notice of these
proceedings, issue a warrant directing the U.S. Marshal Service or
other law enforcement authority to arrest the children, remove
them from Respondent’s control and thereafter serve Respondent

with notice of the proceedings;

. Grant temporary physical custody of the children to Petitioner;

_Issue an order requiring Respondent to (1) remain within the

jurisdiction of this Court pending resolution of this matter and

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(2) surrender each of her and the children’s passports, visas and
other travel documentation, if any to the court and (3) order
Respondent to appear before the Court to show cause as to why the
Children should not be returned to Brazil in the company of

Petitioner;

_In the event Respondent opposes the Petition, set an expedited

final hearing on Petitioner’s Verified Petition for Return; and

. Order that the children be returned forthwith to Brazil in the

company of their father, Petitioner, or his designated agent.
THE HAGUE CONVENTION and
THE INTERNATIONAL CHILD ABDUCTION REMEDIES ACT

This Petition is brought pursuant to the Hague Convention on
the Civil Aspects of International Child Abduction, done at The
Hague on October 25, 1980, and 42 U.S. C Section 11603)b), the
International Child Abduction Remedies Act. The United States of
America assisted in drafting the Convention and became a signatory
to the Convention in 1981. The International Child Abduction
Remedies Act was created to deal with the sudden abduction of
children and to allow a petitioner to assert his rights in exigent

circumstances. See Distler v. Distler, 26 F. Supp. 2d 723, 727

(D.N.J. 1998).
Petitioner, a Brazilian citizen, seeks the return of his minor
children to Brazil which has been their habitual residence since

birth. Respondent has been, and is currently, wrongfully retaining

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the children in the United States of America in violation of The
Hague Convention and the International Child Abduction Remedies
Act.

This is not a custody case. Rather, the objectives of the
Hague Convention are to (i) secure the prompt return of a child
wrongfully removed or retained in any contracting state, and (ii)
ensure that rights of custody and access under the laws of one
contracting state are effectively respected in other contracting
states. Accordingly, the purpose of a Hague petition is to effect
the return of an abducted or wrongfully retained child/children to
their country of habitual residence so that the country of habitual
residence decides issues of permanent custody.

Brazil and the United States are both signatories to the
Convention and are therefore contracting states. See United States
Department of State’s Hague Abduction Convention List, available
ats
http//travel.state.gov/content /childabduction/English/country/ha
gue-party-countries.html.

The Court must return the children to Brazil because, under
the Convention and the International Child Abduction Remedies Act,

a preponderance of the evidence establishes that:

. Brazil was the children’s birth place and habitual residence until

December 13, 2021 when Respondent convinced Petitioner to bring

the children to Florida, and never intended to return them to

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Brazil. She has continued to wrongfully retain the children in

the United States since that time;

. Petitioner was exercising his Brazilian parental and custody

rights at the time Respondent wrongfully retained them in the
United States. There was no consent given by Petitioner to change
the children’s residence from Brazil, and in fact, he expressly

opposed the retention of the children out of Brazil;

. The children are under 16 years old; and

. None of the narrow exceptions to mandatory return under the

Convention apply. Brazil is the appropriate country to make all
determinations regarding custody of, and access to, Petitioner's
children.
JURISDICTION AND VENUE

The Court has jurisdiction pursuant to 42 U.S.C. Section
11603(a) and International Child Abduction Remedies Act Section
9003 because this is an action arising under the Hague Convention
and involves the wrongful taking and retention by Respondent of
the children whose habitual residence is Brazil. The Court also
has jurisdiction under 28 U.S.C. Section 1331 because this is a
civil action arising under federal law and a treaty of the United
States of America.

This Court has personal jurisdiction over Respondent because
she is physically present within this district and is wrongfully

retaining the children in this district.

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20. Venue is proper under 42 U.S.C. Section 11603(b) and 28 U.S.C.
Section 1391 (b) (1) because the children are currently located in
Brevard County, at the address of 3168 Wyndam Way, Melbourne,
Florida 32940, which is within the jurisdiction of this Court.

GENERAL ALLEGATIONS

21. Since their births in 2010 and 2011, Brazil has been the
Children’s Habitual residence. Although residing separately since
2014, Petitioner and Respondent jointly exercised parental rights,
although custody of the children has primarily been with
Petitioner. The Children entered Brazilian school system in Juiz
de Fora, Brazil, and began attending school in 2013 and 2014.

COUNT I-RETURN OF THE CHILD UNDER THE HAGUE CONVENTION AND ICARA

22s Petitioner re-alleges the allegations contained in paragraphs
1-21 as if fully set forth herein.

23 Pursuant to the Convention, when a child has been wrongfully
retained, the court in the Contracting State in which the petition
is filed “shall order the return of the child forthwith” to the
child’s state of habitual residence, subject to limited
exceptions. See Convention, articles 1,3,4,12-13, and 20 (Emphasis
added).

24. In this case, Respondent’s wrongful retention of the Children
in the United States is in violation of the Convention and ICARA

because (i) prior to the wrongful retention, the Children were

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habitual residents of Brazil; (ii) the retention of the Children in
the United States of America is in breach of Petitioner’s rights
of custody to the Children under Brazilian law; (iii) Petitioner was
exercising his rights of custody to the Children at the time of
the abduction and subsequent wrongful retention, and (iv) the
Children are under 16 years of age. See Convention articles 3 and
4.

25) As set forth above, Brazil was the Children’s habitual
residence since birth and where the Children attended school and
engaged in both academic and extra-curricular activities under
Petitioner’s parental custody and care; in addition to Petitioner,
the Children have established relationships with extended family
and friends residing in Brazil.

26. Petitioner has custody rights to the Children pursuant to
Brazilian law and pursuant to the Hague Convention. Petitioner was
exercising these rights at the time the Children were abducted and
thereafter wrongfully retained in the United States of America.
Further, there is no outstanding Brazilian court order terminating
Petitioner’s rights of custody and/or otherwise authorizing
Respondent’s continued retention of the Children in the United
States of America or elsewhere.

2s In the efforts to abduct and conceal the Children, Respondent
convinced Petitioner to bring the children to Florida for a

vacation with the intent to never return them. Her deception was

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successful as she terminated all contact with Petitioner once she
arrived and has refused Petitioner’s efforts to retrieve the
children. Petitioner remains in contact with his children.
PROVISIONAL REMEDIES
28. Pursuant to the Convention, “[i]n furtherance of the
objectives of..the Convention..[the Court] may take or cause to be
taken measures under Federal or State law, as appropriate, to
protect the well-being of the child involved or to prevent the
further removal or concealment before the final disposition of the
petition.” 42 U.S.C. Section 11604.
29. Pursuant Ee ICARA § 11604, "Tn]o court exercising
jurisdiction [in a proceeding for the return of a child]... may...
order a child removed from a person having physical control of the
child unless the applicable requirements of State law are
satisfied.” 42 U.S.C. § 11604.
30. In Florida, the Uniform Child Custody Jurisdiction and
Enforcement Ace (“UCCJEA”), Chapter 61, Part II of the Florida
Statutes, governs the resolution of both domestic and
international child custody disputes. Section 61.534 authorizes a
court, upon finding that the child is “likely to imminently suffer

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serious physical harm or removal from this state,” to issue a
warrant to take physical custody of the child. § 61.534(2), Fla.

Stat. Sub-section (6) provides that the court “may impose

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conditions upon placement of a child to ensure the appearance of
the child and child’s custodian.”

As set forth herein, the Children are “likely to imminently
suffer... from this state,” and this Court is therefore authorized
to issue a warrant to prevent the Children’s removal from this
state.

The information specified in section 61.522, Florida
Statutes, is provided below in an abundance of caution, in the
event that this Court interprets these provisions to be applicable
requirements of the State law required to be satisfied by 42 U.S.C.
§ 11604(b). As it pertains to this instant matter:

The Children are presently located, upon information and belief in
Melbourne, Fl with Respondent, without the Petitioner’s consent.

The Children habitually resided in Brazil under the joint parental
responsibility of both Petitioner and Respondent since birth and
through the date Respondent wrongfully retained the children.
Custody of the children was court ordered to be with Petitioner.

Petitioner does not have information of any custody proceeding
concerning the children pending in any other court of this or any
other State, other than the information provided in this Petition.
Petitioner does not know of any person or institution nor a party
to the proceedings who has physical custody of the Petitioner’s

children who claims to have rights of parental responsibility or

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legal custody or physical custody of, or visitation or parenting
time with the children.

33. Under the circumstances, this Court has the authority to issue
a Warrant of Arrest for the Children and to otherwise direct the
United States Marshal Service to serve this Petition on the

Respondent after the Children are secured and to command Respondent

to appear before this Court immediately, so that the provisions of
42 U.S.C.§11604 can be met.

34. Petitioner will be in Orlando as expeditiously as possible
once learning of this Court’s issuance of the orders requested and
available to take immediate temporary custody of the Children upon
order by this Court. Upon the children’s arrest by the United
States Marshal Service, Petitioner requests that the children be
placed with Petitioner or his designated agent pending the final
evidentiary hearing in this Court because Respondent’s actions to
date demonstrate Respondent represents a signification flight
risk; an order prohibiting her from fleeing the jurisdiction with
the Children will be insufficient.

35. In addition, and pending the final evidentiary hearing in
this Court, it is requested that this Court issue an immediate
order prohibiting the removal of the Children from the jurisdiction
of this Court, taking into safe-keeping all of the Respondent’s
and Children’s travel documents, and setting an expedited hearing

on this Petition.

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36. Pursuant to 42 U.S.C. §11603(c), Respondent will be given
notice of any non-ex parte hearing consistent with §§61.518 and

61.532, Florida Statutes.

Sih Based upon the foregoing, Petitioner respectfully requests
this Court grant the relief requested herein and by Petitioner’s
corresponding and contemporaneously filed motions.

ATTORNEY'S FEES AND COSTS INCLUDING TRANSPORATION EXPENSES
PURSUANT TO CONVENTION ARTICLE 26 AND ICARA 11607

38. Petitioner has incurred expenses as a result of the wrongful
retention of the minor Children by Respondent. Petitioner will
submit a copy of all expenditures aS soon as practicable and
possible and will amend these costs, from time to time, according
to proof and in light of further expenditure required because of
wrongful retention.

39. Petitioner respectfully requests that this Court award all
legal costs and fees incurred to date as required by ICARA § 11607,
reserving jurisdiction over further expenses.

RESPONDENT’S DEMONSTRATED FLIGHT RISK AND THE NEED FOR TEMPORARY
RESTRAINING ORDER AND ARREST OF CHILDREN

40. Based upon the facts as set forth above, there is a grave and
substantial likelihood that Respondent will continue to violate
international law and Petitioner’s parental and custodial rights.
Respondent has made false statements about Petitioner and
purposely wrongfully retains the children, in addition to ignoring

Petitioner’s efforts to see his children. Respondent’s actions

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demonstrate a complete lack of candor, and a willingness to ignore
court directives.

4l. The foregoing, coupled with Respondent’s deliberate efforts
to alienate the children from Petitioner and otherwise sever their
relationship, demonstrates Respondent has absolutely no intention
of voluntarily returning the children to Brazil, let alone
complying with a court order. Respondent’s past and present
actions, including flight and continued concealment of the
children, therefore render Respondent a significant and confirmed

flight risk.

WHEREFORE, Petitioner respectfully requests that the Court

enter an order to the following effect:

. Upon a finding that Petitioner has made a prima facie case for his
Fx Parte Motion for Temporary Injunction and Application for
Warrant of Arrest and Temporary Custody, and that Respondent
presents a flight risk if given advanced notice of these
proceedings, issue warrant directing the U.S. Marshall Service or
other law enforcement authority to arrest the children, remove
them from Respondent’s control and thereafter serve Respondent
with notice of these proceedings;

. Grant temporary physical custody of the children to Petitioner or
his agent, pending a final determination on the Petitioner, who

will voluntarily surrender his own visas, passports and other

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travel documents, as well as the replacement travel documents

secured by Petitioner for the children, to the Court unless and
until directed otherwise by this Court;

c. Issue an order requiring Respondent to (1) remain within the
jurisdiction of this Court pending resolution of this matter and
(2) surrender each of her and the children’s passports, visas and
other travel documentation, if any, to the Court and (3) order
Respondent to appear and show cause as to why the children should
not be returned to Brazil in the company of Petitioner;

d. If necessary, set an expedited final hearing on Petitioner’s
Verified Petition for Return; and

e, Order that the children be returned forthwith to Brazil in the

company of their father, Petitioner.

Declaration Under Penalty of Perjury Pursuant to 28 U.S.C.§1746 (1)

I declare penalty of perjury under the laws of the United
States of America that I have reviewed this Verified Petition in

its original and translated form and that the foregoing is true
and correct.

Executed of this fs day of a , 202d

NIVALDO ALVAR SOHRES JUNIOR

Notary:

Tabellonato do 1° Oficio de Notas

Reconheso, por autenticidade, a(s) Assinatura(s) p
NIVALDO ALVARENGA SOARES JUNIOR

am testemunho da verdade.

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CODIGS DE SEGURANGA: 8684.0359.0 1726,
Quantidade de atos praticados: 0

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Res tfully submitted,

srael, P.A
Attormy for Petitioner
Florida Bar No. 270709

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EXMo{a). SR(a). DR(a). JUIZ(a) DE DIREITO DA 2? VARA DE FAMILIA DA.
COMARCA DE JUIZ DE FORA - MG

Processo n°.: 0268475-18.2015.8.13.0145

MACO N°. 1968

NIVALDO ALVARENGA SOARES JUNIOR © NARA
FERNANDA GONCALVES, ambos ja qualificados nos autos do processo acima
discriminado relativo & REGULAMENTACAQ CONSENSUAL DE GUARDA E£
ALIMENTOS de seus filhos DIEGO MATTOS GONCALVES ALVARENGA e JUAN
MATTOS GONCALVES ALVARENGA, menores imptberes, neste ato representado
por seus. pais, vém, conjuntamente, perante V. Ex*., por seu procurador abaixo
qualificado, informar e requerer o seguinte:

i

1. Inictalmente, requerem as partes Qo
desarquivamento do feite, cuja respectiva guia de custas devidamente quitada
segue anexa.

2. Desde o més de dezembro de 2017, os 02 (dofs)
filhos do casal (Diego e Juan) estao morando exclusivamente cam o pai
(Nivaldo), mediante consentimento da mae (Nara), eis que esta saiu do pais.

3. Assim, visando regularizar a relacao juridica
familiar das criancas e dos pais, estes chegaram a um consenso, no sentido de
alterar a forma da moradia, visitacao e alimentos, estabelecida anteriormente

f os Geo no acordo realizado entre os pais, e devidamente homologado por este D. Juizo
we ~ no presente feito.

4. Desta forma, pretendem os pais, com a presente
peticao, formatizar a atual forma da moradia, visitacdo e alimentos dos
menores, no sentido de proceder nova regulamentacao da situagaéo juridica
familiar dos filhos € dos pais, na seguinte forma:

or
rae

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an Assinado eletronicamente por: MATEUS MACHADO FERREIRA - 25/07/2018 18:56:23 Num. 48178557 - Pag. 15
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a) a guarda dos menores permanecera compartithada entre os pais,
sendo que, entretanto, a moradia dos filhos Diego ¢ Juan passa a ser
temporaria exclusiva com o pai Nivaldo, garantido & mae a visitacdo
livre;

b) 0 pai se obriga a arcar, a cada 02 (dois) anos -intercalado ao
item ‘c’ abaixo-, com os custes de 15 (quinze) dias diarias de
hospedagem em hotel (nivel 3 estrelas) neste pais, para a mae desfrutar
com os filhos Diego e Juan o perioda das férias escolares;

c) 0 pai se abriga a levar, a cada 02 (anos) -intercalado ao item “b’
acima-, os filhos Diego e Juan para passarem 15 (quinze) dias
consecutivos das férias escolares na cidade que a mae estiver residindo;

d) a mae desde ja autoriza o pai a realizar viagens internacionais
com os filhos Diego & Juan, inclusive para possibilitar a previsao da letra
‘ce’ acima, valendo a assinatura da mae neste acordo como autorizacao
para todos os efeitos, inclusive perante as autoridades competentes, se
comprometendo a mae, desde ja, a assinar quaisquer outros documentos
que eventualmente se fizer necessario para passibilitar tais viagens;

5. Por todo o exposto, tendo sido tudo pactuada de comum
acordo entre as partes, na forma aqui apresentada, REQUEREM a V. Ex®., apos a
intimacao do Parquet, na forma de estilo, para a manifestacdo que entenda
cabivel, a homologacéo judicial desta NOVA regulamentacao de moradia
stick e_alimentos, na forma aqui pactuada, por sentenca, desistindo as
partes desde ja do prazo recursal, para que produza seus juridicos e legais
efeitos.

Nestes termos, Pedem deferimento.
co Juiz de Fora, 10 Abril de 2018.

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(IMAGE ATTACHED CONTAINING THE FOLLOWING)

HONORABLE JUDGE OF LAW OF THE SECOND FAMILY COURT OF THE JUIZ DE
FORA COUNTY — MINAS GERAIS

Case file No.: 0268475-18.2015.8.13.0145

PACK No.: 1968

NIVALDO ALVARENGA SOARES JUNIOR and NARA FERNANDA GONCALVES,
both already qualified in the case file above, regarding the CONSENSUAL CUSTODY AND
ALIMONY AGREEMENT of their children DIEGO MATTOS GONCALVES ALVARENGA and
JUAN MATTOS GONCALVES ALVARENGA, impubescent minors, in this act represented by their

parents, come together; before Your Honor, by their attorney qualified below, inform and request the
following:

1. Initially, the parties request the unarchive of the case, whose respective costs, duly paid, is
attached.

2. Since December 2017, the couple's 02 (two) children (Diego and Juan) have been living
exclusively with their father (Nivaldo), with their mother's consent (Nara), as she left the country.

3. Thus, in order to regularize the legal family relationship of children and parents, they reached
a consensus, in the sense of changing the form of residence, visitation and alimony previously

established in the agreement reached between the parents, and duly approved by this Court in the
present case.

4, In this way, the parents intend, with this petition, to formalize the current form of residence,
visitation and alimony of and for the minors, in order to proceed with new regulation of the family
legal situation of the children and parents, in the following way:

(QR Code) Electronically signed by: MATEUS MACHADO FERREIRA- 07/25/2018 06:56:23 PM No. 48177765 — Page 15

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a) legal custody of the minors will remain shared between the parents, however, the physical
custody of the children Diego and Juan becomes temporary exclusively with their father Nivaldo, being
guaranteed free visitation to the mother;

b) the father undertakes the obligation to pay, every 02 (two) years -interspersed with item 'c'
below-, with the costs of 15 (fifteen) days of accommodation in a hotel (3-star level) in this country, for
the mother to enjoy the school holidays with the children Diego and Juan;

c) the father undertakes the obligation to take, every 02 (years) -interspersed with item 'b’
above-, the children Diego and Juan to spend 15 (fifteen) consecutive days of school holidays in the
city where the mother is residing;

d) the mother hereby authorizes the father to carry out international trips with the children
Diego and Juan, including to enable the provision of the letter 'c' above, being the mother's signature in
this agreement valid as authorization for all purposes, including before the competent authorities, with
the mother committing, from now on, to sign any other documents that may be necessary to enable
such trips.

5. For all of the foregoing, everything having been agreed upon by common agreement between
the parties, in the form presented here, REQUEST Your Honor, after the prosecutor's subpoena,
according to the formalities, for the manifestation that (s)he understands appropriate, the judicial

i sidence, visitation and alimon ment, as agreed herein, by final
judgment, the parties giving up the appeal period, so that it produces its juridical and legal effects.

In these terms, they ask for grant.
Juiz de Fora, April 10, 2018.

P.p.
(signature)
MATEUS MACHADO FERREIRA
Order of Attorneys of Brazil/State of Minas Gerais 84.465

We declare for the due legal purposes that we are aware of the full content of this petition, fully
agreeing with its content and form, as stated, for the regular legal purposes.

(signature) (signature)
Nivaldo Alvarenga Soares Junior Nara Fernanda Goncalves
(QR Code) Electronically signed by: MATEUS MACHADO FERREIRA- 07/25/2018 06:56:23 PM No. 48177765 — Page 16

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CERTIFICATE OF TRANSLATOR’S COMPETENCE

I, Vitor Jacob Cruz, hereby certify that I am competent and proficient in both the English and

Portuguese languages, and that the above translation is a true, accurate, and complete rendition of the
Portuguese version of the original document.

Signature: Se? Date: 23 | / zl £092

Vitor Jacob
4000 NW e, Boca Raton, FL 33431
vitorjacob.vj@gmail.com

(561)342-2020
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AGRAVO DE INSTRUMENTO-CV 88 CAMARA CIVEL ESPECIALIZADA
N° 1.0000.22.043589-5/001 JUIZ DE FORA
AGRAVANTE(S) N.A.S.J.
AGRAVADO(A\(S) N.F.G.
DECISAO
Vistos.

Trata-se de Agravo de Instrumento, com pedido de efeito
suspensivo, interposto por N.A.S.J. contra decisao proferida pelo d.
Juizo da 2? Vara de Familia da Comarca de Juiz de Fora, nos autos da
Agao Ordinaria de Modificagao de Clausula e Regime de Convivéncia
ajuizada por N.F.G., que deferiu o pedido de tutela de urgéncia, nos

seguintes termos (ordem 68):

(...)

Quanto a guarda proviséria, como se sabe, em
procedimento desta natureza, sempre ha de
prevalecer o interesse do menor, cujo bem-estar
recomenda cautela, em termos superiores a qualquer
pretensao dos prdprios genitores, conforme esta na
previsdo legal e é de reiterada interpretacao
jurisprudencial de nossos Tribunais.

Ao compulsar dos autos, depreende-se que os
menores encontram-se adaptados ao nucleo familiar
materno, inexistindo elementos a contraindicarem a
concessao da guarda provisdria, ao menos, em
cogni¢gao sumaria.

Destarte, as provas carreadas ao feito, notadamente
os exames acostados em IDs 830080807 e
8300808072 atestando que os menores em questao
encontram-se acometidos por Covid-19, situagao que,
em razao das medidas de prevengao a disseminagao
da mazela hodiernamente adotadas em Ambito
mundial, configura-se impeditiva ao seu retorno
imediato ao Brasil e pode ocasionar prejuizo para a
formacao dos menores, eis que as aulas presenciais
ja foram retomadas nesta Comarca de Juiz de Fora.
Nesta senda, pressupondo atendimento ao melhor
interesse dos infantes, até que melhor juizo se forme,
e comprovado o vinculo de parentesco (ID

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82792281 390- Pags.1/2), DEFIRO a guarda provisoria
de D.M.G.A. e J.M.G.A. a genitora N.F.G.

(...)

A parte requerida, ora agravante, sustenta que “a decisao ora

recorrida acabou por autorizar a mudanga abrupta da residéncia dos
menores para o exterior, retirando-os da custédia fisica do pai ora
agravante, e, consequentemente, ratificando a intengao da genitora em
reter ilegalmente os menores no exterior, em flagrante violagao a
Convengaéo de Haia sobre os Aspectos Civis do Sequestro
Internacional de Criancas, ratificada pelo Brasil através do Decreto
3.413/2000”.

Aduz que “o d. Juizo de primeiro grau inverteu a ordem natural
de um processo cujo objetivo final é a alteragao da residéncia dos
menores para o exterior, e, ainda que se admita a alteragao da
custédia das crian¢as, por certo deveria aguardar o tramite processual
para uma maior seguran¢a juridica, isto é, deveria primeiro realizar o
estudo psicossocial, seja porque nao existe nenhum motivo grave que
justifique a imediata mudanga dos menores, seja porque existe um
perigo da demora inverso, no sentido de que eventualmente
consolidara a situagao dos menores nos EUA, isto 6, podera ocorrer a
integragao dos menores em seu novo meio, em total prejuizo a defesa
do pai ora agravante, e mais, uma mudanga de pais e de referéncia
pode representar uma experiéncia traumatica aos menores, que deve
ser evitada nessa fase de vida. Alias, o STJ ja consolidou
entendimento de que para uma transferéncia internacional de menor, é
necessario a realizacao prévia de estudo psicossocial, sendo certo que
tal prova pericial deve ser realizada pelo Juizo da residéncia habitual,
isto 6, aqui no Brasil, donde necessaria a presenga dos menores no
brasil, sob pena de nulidade do processo’”.

Destaca que “a guarda dos menores é compartilhada, porém a
moradia/custodia dos menores 6 exclusiva do pai desde dezembro de

2017, quando a mae optou, durante viagem sozinha nos EUA, em la

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permanecer, abandonando o Brasil, onde deixou os menores, sem

nenhuma conversa prévia, com o genitor ora agravante, na época em
que a moradia das criang¢as era alternada entre os genitores durante a
semana. Aqui, vale ressaltar uma omissao da peticao inicial - talvez
propositada, para induzir o juizo a erro- com relagao ao histdrico de
vida dos menores: estes sempre residiram com o pai — ainda que de
forma alternada, num determinado periodo que foi pos a ruptura da
uniao estavel dos genitores até a moradia exclusiva s6 com genitor ora
agravante’”.

Assinala que “pelas regras atualmente vigentes (estabelecidas
no segundo acordo), que diante da moradia dos menores de forma
exclusiva com o pai, este se obrigou a arcar com a estadia da mae
quando ela viesse ao Brasil, a cada dois anos, e, de forma intercalada,
também a cada dois anos, 0 pai se obrigou a levar as criangas para
passarem férias com a mae na cidade que esta estivesse residindo. E,
conforme se demonstrara mais abaixo, 0 pai ora agravante sempre
cumpriu com estas obrigagdes especificas —além de todas as demais-
ao contrario do que alegado pela autora ora agravada e desde ja
expressamente impugnado, até mesmo por que o genitor sempre
concedeu muito mais, admitindo diversas vezes que a mée
permanecesse na custédia das criancgas. Neste sentido, os genitores
acordaram que nas férias escolares de 2021/2022, ao invés dos
menores permanecerem 15 dias com a mae na cidade dela (EUA), as
criancas ficariam por O02 (dois) meses, desde meados de
Dezembro/2021 até meados de Fevereiro/2022, quando o pai traria os
menores de volta para a residéncia paterna, para o retorno das aulas
presenciais’.

Pondera que “apesar da narrativa envolvente da peti¢ao inicial,
nao ha prova efetiva de qual série/ano os menores foram matriculados
na escola do exterior, ja que os documentos vinculados ao ID n°

8279462995 (supostos curriculos escolares dos menores no EUA), nao

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informam sequer as matérias que estao sendo cursadas pelos

menores, podendo inclusive ser apenas uma matricula na qualidade de
“ouvinte”, sem comprovagao de um estudo valido, para o caso de um
posterior retorno ao Brasil. Ademais, nao ha nos autos nenhuma
fotografia dos menores dentro de sala de aula, por exemplo, havendo
apenas fotos de ambientes (que podem ser retiradas da internet,
inclusive), ou fotos dos menores com mochila dando a entender que
seria na entrada da escola, mas que pode ser um shopping, ou mesmo
uma colonia de férias. Assim, no minimo existe uma duvida quanto a
efetiva educagao dos menores la nos EUA, até mesmo porque,
conforme e-mail do colégio Grambery (onde os menores estudam no
Brasil desde sempre), nao foi entregue a genitora nenhuma
documenta¢gao dos menores que seria necessario para a transferéncia
/matricula em qualquer outra instituigao educacional. Por outro lado, e
de forma totalmente contraria, o pai réu ora agravante apresenta
relatorios do Colégio Grambery (coépias anexas) comprovando nao sé
as efetivas matriculas escolares dos menores para o presente ano
letivo de 2022, como também a boa relagao sécio-pedagdgica das
crian¢as, corroborado pelos 6timos desempenhos quando ela vinha ao
Brasil, e mais, levou inclusive mais de uma vez, num intervalo inferior a
7 ano, oS Menores para os EUA, onde a mae reside, para que aqueles
passassem férias com a genitora, sempre buscando o melhor interesse
dos menores, para manter o vinculo maternal’.

Pondera que “o melhor interesse das criancas nem sempre é oO
que elas expressam, considerando inclusive a situagao fatica do caso
em tela, isto 6, que os menores estao vindo de uma situacao
totalmente atipica para todos, e em especial para criancgas, que 6 a
pandemia, onde ficaram limitadas do convivio com a sociedade, o que
foi seguido a risca pelo pai, tudo em prol da saude, e, de repente, os
menores se veem um paraiso infantil, literalmente, que 6 a

Disneylandia, com parques maravilhosos, em que inclusive a mae ora

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“e Poder Judiciario do Estado de Minas Gerais
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agravada tem dificuldade de impor limites aos filhos, conforme alias

mensagem que ela mesmo enviou ao pai ora agravante, solicitando
ajuda para este junto as criangas no dia 05/01/2022”.

Portanto, pugna pela atribuigao de efeito suspensivo. Ao final,
requer o conhecimento, processamento e provimento do recurso, com

a reforma da decisao agravada.
E o sucinto relatorio.
Conheco preliminarmente do recurso, pois, a principio,

vislumbro a presenga dos pressupostos intrinsecos e extrinsecos de
admissibilidade.

De acordo com o artigo 995, do Cédigo de Processo Civil, em
regra, os recursos nao impedem a eficacia da decisdo. Todavia em seu
paragrafo Unico estabelece que a eficacia da decisao recorrida podera

ser suspensa pelo Relator. Cita-se:

Art. 995. Os recursos ndo impedem a eficacia da
decisdo, salvo disposicao legal ou decisdo judicial em
sentido diverso. Paragrafo Unico. A eficacia da
decisao recorrida podera ser suspensa por decisao do
relator, se da imediata produgao de seus efeitos
houver risco de dano grave, de dificil ou impossivel
reparagao, e ficar demonstrada a probabilidade de
provimento do recurso.

No que tange ao recurso de agravo de instrumento, observa-se
que 0 artigo 1.019 do mesmo Diploma Processual disp6e sobre o

recebimento do agravo de instrumento. In verbis:

Art. 1.019. Recebido o agravo de instrumento no
tribunal e distribuido imediatamente, se nao for o caso
de aplicagdo do art. 932, incisos III e IV, o relator, no
prazo de 5 (cinco) dias:

| - podera atribuir efeito suspensivo ao recurso ou
deferir, em antecipagao de tutela, total ou
parcialmente, a pretensao recursal, comunicando ao
juiz sua decisao;

Il - ordenara a intimagao do agravado pessoalmente,
por carta com aviso de recebimento, quando nao tiver
procurador constituido, ou pelo Diario da Justiga ou
por carta com aviso de recebimento dirigida ao seu

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advogado, para que responda no prazo de 15 (quinze)
dias, facultando-lhe juntar a documentagao que
entender necessaria ao julgamento do recurso;

Ill - determinara a intimagao do Ministério Publico,
preferencialmente por meio eletrénico, quando for o
caso de sua intervencgdo, para que se manifeste no
prazo de 15 (quinze) dias.

Sobre o tema lecionam Marinoni, Arenhart e Mitidiero no Livro

Cédigo de Processo Civil Comentado:

Efeito Suspensivo. O agravo nao tem, em regra, efeito
suspensivo. Pode o relator, contudo, suspender
liminarmente a decisao recorrida, atribuindo efeito
suspensivo ao recurso até ulterior julgamento (art.
1.019, 1, CPC). Os requisitos para concessao de efeito
suspensivo sao aqueles mencionados no art. 1.012,
§4°, CPC — analogicamente aplicavel. A outorga de
efeito suspensivo 6 a medida adequada quando se
pretende simplesmente suspender os efeitos da
decis&o recorrida. O relator ndo pode agregar efeito
suspensivo ao agravo de oficio, sendo imprescindivel
oO requerimento da parte (analogicamente, art.
1.012,§3°, CPC). Deferido o efeito suspensivo, deve o
relator comunicar ao juiz da causa a sua decisao.

Antecipagao da tutela recursal. Quando o recorrente
pretende a concessao de tutela jurisdicional ao direito
negada pela decisao recorrida, obviamente nao se
mostra adequado postular a outorga de efeito
suspensivo ao agravo, ja que suspender uma
omiss&o jurisdicional nao produz qualquer efeito no
plano concreto. E de rigor que se requeria nesse caso
a antecipagao da tutela recursal — vale dizer, que o
relator conceda exatamente aquela providéncia que
foi negada pela decisao recorrida. O relator pode
fazé-lo, deferindo total ou parcialmente a antecipacao
da tutela recursal (arts. 294, 300, 311 e 1.019, |, do
CPC). Os requisitos para concessao da antecipacgao
da tutela variam de acordo com o contexto em que se
insere o recorrente. (...) (2015, p.949/950).

Cuida-se de Acgao Ordinaria de Modificagado de Clausula e
Regime de Convivéncia ajuizada por N.F.G. (genitora) em face de
N.A.S.J. (genitor), tendo formulado tutela de urgéncia para concessao

de guarda unilateral, “sendo permitida a permanéncia dos menores nos

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Estados Unidos na companhia materna, onde ja esta desde dezembro

de 2021” (ordem 27).

Junto da peticao inicial, depreende-se que: |) a genitora conta

com 41 anos de idade; II) a genitora possui carteira de motorista
temporaria da Fldérida/EUA; Ill) os filhos menores possuem 12 e 10
anos de idade; IV) cépia de peticao de acordo, constando a moradia
exclusiva com o pai, garantido a mae visitagao livre — datada de julho
de 2018; V) cdépia da sentenga homologatdéria do acordo; VI)
manifestagdes dos filhos menores expondo a vontade de morar coma
mae nos EUA; VII) cartées de vacinagao dos filhos, nos EVA; VIII)
carteira profissional da genitora nos EUA; IX) imagens fotograficas do
novo casamento da genitora realizado nos EUA, da suposta residéncia
da familia, dos infantes, de eventos sociais; X) indicagao da escola em
que os infantes estariam matriculados; XI) mensagens entre a genitora
e o genitor datadas de 2019 — sobre a possibilidade de mudanga dos
infantes para os EUA; XII) arquivo de audio, supostamente da atual
esposa do genitor; XIII) constam curriculos escolares dos infantes,
datado de janeiro de 2022; XIV) videos de conversas entre as partes e
pedido de um dos filhos para permanecer nos EUA; e XV) petigao
datada de 10 de fevereiro de 2022, informado a impossibilidade de
retorno ao Brasil, pela familia ter sido acometida de COVID-19 (ordens
28/54 e 58/59).

A respeito do acordo homologado, imperiosa indicagao dos

termos (ordem 31):

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proceder nova regulamentacao
forma:

: 8. Desta forma, pretendem os pais, com a presente peti 0,
formalizar a atual forma da moradia, visitagdo e alimentos dos menores, no sania ae

da situagao Juridica familiar dos filhos e dos pais, na seguinte

@) a guarda dos menores permanecera compartithada entre os pais, sendo

qué, entretanto, a moradia dos filhos Diego e Juan assa a ser temporaria exclusi
com o pai Nivaido, garantida a4 mae a Visitagso livre; [ m anole

: b) 0 pai se obriga a arcar, a cada 02 (dois) anos ~intercaiado ao item ‘c'
abaixo-, com os custos de 15 (quinze) dias diarias de hospedagem em hotel (nivel 3

estrelas) neste pais, para a mae desfrutar com os filhos Diego e Juan o periodo das
férias escolares'

ELEANOR PERERA TOTO

C) 0 pai se obriga a levar, a cada 02 {anos) -intercalado a0 item ‘b’ acima-, os
filhos Diego e Juan para passarem 15 ({quinze) dias consecutivos das férias escolares
na cidade que a mae estiver residindo;

d) a mae desde ja autoriza o pai a realizar viagens internacionais corn os
filhos Diego e Juan, inclusive para possibilitar a previsao da letra ‘cs’ acima, valendo a
assinatura da mae neste acordo como autorizagao para todos os efeitos, Inclusive
perante as autoridades competentes, se comprometendo a mae, desde ja, a assinar

quaisquer outros documentos que eventualmente se fizer necessdrio para possibilitar
lais viagens.

9. Por todo o exposto, tendo sido tudo pactuado de comum acordo
entre as partes, na forma aqui apresentada, REQUEREM a V. Ex?., inti a
Parquet, na forma de estilo, para a manifestagéo que entenda cabivel, a homologacae

dicial desta NOVA regulamentacao de moradia, visite 349 ¢ alimentos, na forma aqui
pactuada, por sentenca, desistindo as partes desde ja do prazo recursal, para que produza
Seus juridicos e legais efeitos.

Com base no contexto fatico, sobreveio a decisao agravada.

Por sua vez, 0 requerido/genitor em Ambito recursal apresenta:

|) e-mail da escola com declaragées de escolaridade dos infantes,

solicitada pela genitora; Il) relatorios escolares informando a matricula

dos menores, bem como boletins; III) declaragdes de participacdo dos

menores em atividades extracurriculares; IV) imagens fotograficas dos

menores com o genitor e familiares; V) conversas entre os genitores;

VI) laudo médico sobre acompanhamento de um dos filhos, em

decorréncia de sindrome nefrética; VII) comprovante de plano de

saude dos menores; VIII) comprovante de renda, residéncia e

automovel; IX) boletim de ocorréncia do ano de 2017, informando

agressao da genitora em face do genitor; X) comprovantes de

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passagens aéreas — Brasil/EUA; e XI) parecer juridico sobre a

possibilidade de trabalho e permanéncia nos EUA (ordens 03/23).

Postas as premissas faticas, identifica-se que por acordo
homologado judicialmente, os genitores definiram pela guarda
compartilhada dos menores, com a moradia temporaria exclusiva junto
ao genitor. Registra-se que foram acordadas visitas anuais, tanto no
Brasil, como nos EVA, com a finalidade da genitora ter convivéncia
com os filhos.

Além disso, depreende-se que os menores encontram-se nos
EUA desde dezembro de 2021 — momento em que foram passar as
festividades de final de ano e férias.

Sobre a matéria, a legislagao civil estabelece que a guarda
compartilhada implica na responsabilizagao conjunta e o exercicio de
direitos e deveres do pai e da mae concernentes ao poder familiar dos
filhos comuns. Além disso, a moradia dos filhos sera definida com base

no melhor interesse dos filhos. Verifica-se:

Art. 1.583. A  guarda’ sera unilateral ou
compartilhada. (Redagéo dada pela Lei n° 11.698, de
2008).

§ 1 °Compreende-se por guarda unilateral a atribuida
a um so dos genitores ou a alguém que o substitua
(art. 1.584, § 5°) e, por guarda compartilhada a
responsabilizagao conjunta e o exercicio de direitos e
deveres do pai e da mae que nao vivam sob o mesmo
teto, concernentes ao poder familiar dos filhos
comuns. (Incluido pela Lei n° 11.698, de 2008).

§ 2°Na guarda compartilhada, o tempo de convivio
com os filhos deve ser dividido de forma equilibrada
com a mae e com 0 pai, sempre tendo em vista as
condicées faticas e os interesses dos filhos. (Redacdo

dada pela Lei n° 13.058, de 2014)

| - (revogado); (Redacdo dada pela Lei n° 13.058, de
2014)

Il - (revogado); (Redacao dada pela Lei n° 13.058, de
2014)

Ill - (revogado). (Redagao dada pela Lei n° 13.058, de
2014)

§ 3°Na guarda compartilhada, a _ cidade
considerada base de moradia dos filhos sera

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aquela que melhor atender aos interesses dos
filhos. (Redagao dada pela Lei n° 13.058, de 2014)

Com base no exposto, a principio, observa-se temeraria a
alteragao abrupta da guarda compartilha com moradia dos menores
juntos do pai para a pretendida guarda unilateral da genitora para outro
pais. Ressalta-se que ambos os genitores demonstram interesse e
possibilidade na criagao dos filhos; os menores possuem vida estrutura
no Brasil desde o nascimento; e existe titulo executivo judicial que nao
deve ser desconstituido no inicio do presente processo.

Consigna-se, ao final, que a definiga4o sobre a moradia dos
menores demanda cautela, razao pela qual se mostra necessaria a
atribuigao de efeito suspensivo, para que a matéria_ seja
detalhadamente apreciada apds o crivo do contraditorio perante a
Turma Julgadora.

Assim, diante do exposto, defiro o pedido de efeito
suspensivo.

Comunique-se o d. Juizo de primeira instancia sobre a
decisao, nos termos do artigo 1.019, I, do CPC.

Intime-se a parte agravada para, querendo, apresentar suas
contrarraz6es, no prazo de 15 (quinze) dias, nos termos do artigo
1019, Il, do CPC.

Apos, remetam-se os autos a Douta Procuradoria-Geral de
Justiga.

Publique-se. Intime-se.

Belo Horizonte, 09 de marco de 2022.

DESA. ANGELA DE LOURDES RODRIGUES
Relatora

Documento assinado eletronicamente, Medida Provisdria n° 2.200-2/2001 de 24/08/2001.

Signatario: Desembargadora ANGELA DE LOURDES RODRIGUES, Certificado:
5323AF 1239D6BE0769BF8EB8647DCFCE, Belo Horizonte, 09 de margo de 2022 as 16:39:58.

Verificagao da autenticidade deste documento disponivel em http://www.tjmg.jus.br - n° verificador:
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Poder Judiciario do Estado de Minas Gerais
Tribunal de Justi¢a

N° 1. 0000. 22.043589-5/001

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No 1.0000.22.043589-5/001

(Bar Code)
(Bar Code)

2022000312278
INTERLOCUTORY APPEAL-CV 8th SPECIALIZED CIVIL CHAMBER
No 1.0000.22.043589-5/001 JUIZ DE FORA
Appellant(s) N.A.S.J.
Appellee(s) N.E.G,

DECISION
Examined.

This is an Interlocutory Appeal, with a request for a stay of proceedings,
filed by N.A.S.J. against the decision rendered by the 2nd Family Court of the
Juiz de Fora County, in the case file of the Ordinary Action for Amendment of
Clause and Cohabitation Regime filed by N.F.G., which granted the request for
urgent relief, in the following terms (order 68):

bed

As for the provisional custody, as is well known, in a
procedure of this nature, the interest of the minor must
always prevail, whose well-being recommends caution, in
terms superior to any claim of the parents themselves, as is
in the legal provision and is of repeated jurisprudence
interpretation of our Courts.

Upon reviewing the file, it appears that the minors are
adapted to the maternal family nucleus, with no elements to
contraindicate the granting of the provisional custody, at
least in summary cognition.

Thus, the evidence brought to the file, notably the exams
attached to IDs 830080807 and 8300808072 attesting that
the minors in question are affected by Covid-19, a situation
that, due to the measures to prevent the spread of the
disease adopted worldwide nowadays, constitutes an
impediment to their immediate return to Brazil and can
cause damage to the upbringing of the minors, since in
person classes have already been resumed in this County of
Juiz de Fora. In this path, assuming that the best interests of
the children are met, until a better judgment is formed, and
being the kinship bond proven (ID

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82792281390- Pages 1/2), I GRANT the provisional
custody of D.M.G.A. and J.M.G.A. to the mother N.EG.

ta)

The defendant, now appellant, argues that "the decision now appealed
ended up authorizing the abrupt change of residence of the minors to a foreign
country, removing them from the physical custody of the father, now appellant,
and, consequently, ratifying the mother's intention to illegally retain the minors
abroad, in flagrant violation of the Hague Convention on the Civil Aspects of
International Child Abduction, ratified by Brazil through the Decree 3.413/2000”.

He adds that “the respectable lower court reversed the natural order of a
proceeding whose final objective is to change the residence of minors to a foreign
country, and, even if the change of custody of the children is allowed, it certainly
should wait the course of the proceedings for greater legal certainty, that is, it
should first carry out the psychosocial study, either because there is no serious
reason that justifies the immediate change of residence of the minors, or because
there is a reverse danger of the delay, in the sense that the situation of the minors
in the USA will eventually consolidate, that is, the integration of the minors into
their new environment may occur, to the total detriment of the defense of the
father, now Appellant, and more, a change of country and reference can represent
a traumatic experience for the minors, which should be avoided at this stage of
life. In fact, the Superior Court of Justice has already consolidated the
understanding that for an international transfer of a minor, it is necessary to carry
out a psychosocial study in advance, given that such expert evidence must be
carried out by the Court of habitual residence, that is, here in Brazil, where the
presence of minors is necessary in Brazil, under penalty of being the process
void”.

He emphasizes that “the legal custody of the minors is shared, but the
physical custody of the minors is exclusive with the father since December 2017,
when the mother chose, during a trip alone in the USA, to

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stay there, abandoning Brazil, where she left the minors, without any previous
conversation with the father, now Appellant, at the time when the children’s
physical custody was alternated between the parents during the week. Here, it is
worth mentioning an omission in the initial complaint - perhaps intentional, to
mislead the Court - with regard to the life history of the minors: they always lived
with their father - albeit alternately, in a certain period that was after the rupture
of the “common-law marriage” of the parents until the residence solely with the
father, now Appellant”.

He points out that “by the currently governing rules (established in the
second agreement), that in view of the sole physical custody of the minors with
the father, he was obliged to pay for the mother's stay when she came to Brazil,
every two years, and, alternately, also every two years, the father committed
himself to take the children to spend holidays with the mother in the city where
she were residing. And, as will be shown below, the now Appellant parent has
always complied with these specific obligations -in addition to all others- contrary
to what is alleged by the plaintiff, now Appellee, and hereby expressly
challenged, even because the father has always granted much more, allowing the
mother to remain with the physical custody of the children several times. In this
sense, the parents agreed that in the school holidays of 2021/2022, instead of the
minors staying 15 days with their mother in her city (USA), the children would
stay for 02 (two) months, from mid-December/2021 to mid-February/2022, when
the father would bring the minors back to the paternal residence, for the return of
in-person classes”.

He considers that “despite the involving narrative of the initial complaint,
there is no effective proof of which grade/year the minors were enrolled in the

school abroad, since the documents linked to ID No. 8279462995 (alleged school
curriculum for the minors in the USA), do not

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even inform the subjects that are being studied by the minors, and it may even be
just a registration as a “listener”, without proof of a valid study, in the case of a
subsequent return to Brazil. In addition, there is no evidence on file of photograph
of the minors in the classroom, for example; there are only photos of rooms
(which can even be taken from the internet), or photos of the minors with a
backpack, implying that it would be at the entrance of the school, but it can be a
mall, or even a summer camp. Thus, at the very least, there is a doubt as to the
effective education of the minors in the USA, even because, according to an email
from Grambery School (where the minors have studied in Brazil since always),
no documentation of the minors that would be required for transfer/enrollment in
any other educational institution was delivered to the mother. On the other hand,
and in a completely contrary way, the defendant father, herein Appellant, presents
reports from Grambery School (attached copies) proving not only the effective
school enrollment of the minors for the current academic year of 2022, but also
the good socio-pedagogical relationship of the children, corroborated by the
excellent performances when she came to Brazil, and more, he even took the
children more than once to the USA, where the mother lives, in an interval of less
than 1 year, so that they could spend the holidays with their mother, always
seeking the best interests of the minors, to maintain the maternal bond”.

He considers that “the best interest of children is not always what they
express, even considering the factual situation of the case in question, that is, that
the minors are coming from a totally atypical situation for everyone, and
especially for children, which is the pandemic, where they were limited from
socializing, which was followed to the letter by the father, all for the sake of
health, and, suddenly, the minors see themselves in a children's paradise, literally,
which is Disneyland, with wonderful parks, in which even the mother, now

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Appellee, has difficulty imposing limits on their children, according to a message

that she herself sent to the father, now Appellant, asking him for help with the
children on 01/05/2022”.

Therefore, he requests a stay of proceedings. In the end, he requests the
analysis, processing, and grant of the appeal, with the reform of the appealed
decision.

It's the brief report.

I preliminarily accept the appeal, because, at first, I see the presence of
the intrinsic and extrinsic presuppositions of admissibility,

According to article 995 of the Code of Civil Procedure, as a rule, appeals
do not impede the effectiveness of the decision. However, its sole paragraph
establishes that the effectiveness of the appealed decision may be suspended by
the Reporting Judge. It is quoted:

Art. 995. Appeals do not impede the effectiveness of the decision,
except for legal provision or judicial decision to the contrary.
Single paragraph. The effectiveness of the appealed decision may
be suspended by the decision of the reporting judge, if from the
immediate production of its effects there is a risk of serious harm,
difficult or impossible to repair, and the probability of granting the
appeal is demonstrated.

With regard to the interlocutory appeal, it is observed that article 1.019 of

the same Procedural Diploma provides for the receipt of the interlocutory appeal.
In words:

Art. 1.019. Received the interlocutory appeal in court and
distributed immediately, if it is not the case of application of art.
932, items III and IV, the Teporting judge, within 5 (five) days:

I - may grant a stay of proceedings or grant, in anticipation of
relief, in whole or in part, the appeal claim, communicating its
decision to the judge;

iI - order the subpoena of the appellee in person, by letter with
acknowledgment of receipt, when there is no attomey of record, or
by the Justice Newspaper, or by letter with acknowledgment of
receipt addressed to their

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attorney, so that (s)he responds within 15 (fifteen) days, providing
him with the documentation deemed necessary for the judgment of
the appeal;

Til - shall determine the summons of the Public Prosecutor's
Office, preferably by electronic means, when it is the case of its
intervention, so that it manifests itself within 15 (fifteen) days.

Marinoni, Arenhart and Mitidiero teach about the subject in the treatise
Commented Code of Civil Procedure:

Stay of Proceesings. The interlocutory appeal does not, as a rule,
grant the stay of the proceedings. The Reporting Judge may,
however, suspend the appealed decision, attributing suspensive
effect to the appeal until further judgment (art. 1.019, I, CPC). The
requirements for granting a stay of the proceedings are those
mentioned in art. 1.012, §4, CPC — analogously applicable. The
granting of a stay of proceedings is the appropriate measure when
the intention is simply to suspend the effects of the contested
decision. The Reporting Judge may not grant the stay to the
interlocutory appeal on its own, being the request of the party
necessary (analogously, art. 1.012, §3, CPC). Once the stay is
granted, the Reporting Judge must inform the judge of the case of
his decision.

Anticipation of appeal relief. When the appellant seeks the
granting of judicial relief denied by the appealed decision, it is
obviously not appropriate to postulate the granting of the stay of
proceedings, since suspending a judicial omission does not
produce any effect at the concrete level. It is strictly necessary that,
in this case, the anticipation of the appeal relief be requested - that
is, that the Reporting Judge grants exactly that measure that was
denied by the appealed decision. The Reporting Judge may do so
by fully or partially granting the anticipation of the appeal relief
(articles 294, 300, 311 and 1.019, I, of the CPC). The requirements
for granting the anticipation relief vary according to the context in
which the appellant is inserted. (...) (2015, p.949/950).

It is about an Ordinary Action for Amendment of Clause and Cohabitation
Regime filed by N.F.G. (mother) against N.A.S.J. (father), having formulated a
request for urgent relief for the granting of sole custody, “being allowed the
permanence of the minors in the

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United States in the maternal company, where has been since December 2021”
(order 27).

Along with the initial complaint, it appears that: J the mother is 41 years
old; II) the mother has a Florida/USA temporary driver's license; III) the minor
children are 12 and 10 years old; IV) copy of the petition for agreement, stating
the sole physical custody with the father, guaranteed free visitation to the mother -
dated July 2018; V) copy of the judgment approving the agreement; VI)
declarations from the minors expressing the desire to live with their mother in the
USA; VII) children's vaccination cards, in the USA; VIII) professional card of the
mother in the USA; IX) photographic images of the mother's new marriage held
in the USA, of the alleged house of the family, of the minors, of social events; X)
indication of the school in which the minors would be enrolled; XI) messages
between the mother and the father dated 2019 - about the possibility of moving
the minors to the USA; XII) audio file, allegedly of the father’s current wife;
XIID) there are school curriculum of the minors, dated January 2022; XIV) videos
of conversations between the parties and the request of one of the children to
remain in the USA; and XV) petition dated February 10, 2022, informing the
impossibility of returning to Brazil, because the family had been affected by
COVID-19 (orders 28/54 and 58/59).

Regarding the approved agreement, imperative indication of terms (order
31):

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(IMAGE ATTACHED CONTAINING THE FOLLOWING)

8. In this way, the parents intend, with this petition, to formalize the current form of residence, visitation
and alimony of and for the minors, in order to proceed with new regulation of the family legal situation of the
children and parents, in the following way:

a) legal custody of the minors will remain shared between the parents, however, the physical custody of
the children Diego and Juan becomes temporary exclusively with their father Nivaldo, being guaranteed free
visitation to the mother;

b) the father undertakes the obligation to pay, every 02 (two) years -interspersed with item 'c' below-,
with the costs of 15 (fifteen) days of accommodation in a hotel (3-star level) in this country, for the mother to
enjoy the school holidays with the children Diego and Juan;

c) the father undertakes the obligation to take, every 02 (years) -interspersed with item 'b' above-, the
children Diego and Juan to spend 15 (fifteen) consecutive days of school holidays in the city where the mother is
residing;

d) the mother hereby authorizes the father to carry out international trips with the children Diego and
Juan, including to enable the provision of the letter 'c’ above, being the mother's signature in this agreement valid
as authorization for all purposes, including before the competent authorities, with the mother committing, from
now on, to sign any other documents that may be necessary to enable such trips.

9. For all of the foregoing, everything having been agreed upon by common agreement between the
parties, in the form presented here, REQUEST Your Honor, after the prosecutor's subpoena, according to the
formalities, for the manifestation that (s)he understands appropriate, the judicial approval of this NEW
residence, visitation and alimony agreement, as agreed herein, by final judgment, the parties giving up the
appeal period, so that it produces its juridical and legal effects,

Based on the factual context, the appealed decision took place.

In turn, the defendant/father on appeal presents: I) e-mail from the school
with statements of schooling of the minors, requested by the mother; II) school
reports informing the enrollment of the minors, as well as school transcripts; III)
declarations of minors’ participation in extracurricular activities; IV) photographic
images of minors with the father and family members; V) conversations between
the parents; VI) medical report on the follow-up of one of the children, as a result
of nephrotic syndrome; VII) proof of the minors’ health plan; VIII) proof of
income, residence and automobile; IX) police report for the year 2017, informing
the mother’s aggression against the father; X) proof of

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airline tickets — Brazil/USA; and XI) legal opinion on the possibility of working
and staying in the USA (orders 03/23).

After the factual premises, it is identified that by agreement approved in
court, the parents defined the shared legal custody of the minors, and the
temporary sole physical custody with the father. It is recorded that annual visits
were agreed, both in Brazil and in the USA, with the purpose of the mother
having contact with the children.

Furthermore, it appears that the minors are in the USA since December
2021 — when they went to spend the end-of-year festivities and holidays.

On the matter, civil legislation establishes that shared legal custody
implies joint responsibility and the exercise of rights and duties of the father and
mother concerning the family power of common children. In addition, the
children’s physical custody will be determined based on the best interests of the
children. Ensure that:

Art. 1.583. Legal custody will be unilateral or shared. (Wording
provided by Statute No. 11.698 of 2008),

§ 10 Unilateral legal custody is understood to be attributed to only
one of the parents or to someone who replaces them (art. 1.584, §
5) and, by shared legal custody, the joint responsibility and the
exercise of rights and duties of the father and the mother who do
not live under the same roof, concerning the family power of
common children. (Included by Statute No. 11.698 of 2008).

§ 2 In shared legal custody, the time spent with the children must
be divided in a balanced way with the mother and the father,
always bearing in mind the factual conditions and the children's
interests. (Wording provided by Statute No. 13,058 of 2014)

I - (tevoked); (Wording provided by Statute No. 13,058 of 2014)

Il - (revoked); (Wording provided by Statute No. 13,058 of 2014)
Ill - (revoked). (Wording provided by Statute No. 13,058 of 2014)
§ 3 In shared legal custody, the city considered the children's
home base will be

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the one that best serves the interests of the children. (Wording
provided by Statute No. 13,058 of 2014)

Based on the above, at first, it seems reckless the abrupt change in the
shared legal custody with the physical custody with the father for the intended
unilateral legal custody with the mother to another country. It is noteworthy that
both parents demonstrate interest and possibility in raising the children; the
minors have a structured life in Brazil since birth; and there is a judicial order that
must not be dissolved at the beginning of the present proceeding.

In the end, it is noted that the definition of the physical custody of the
minors requires caution, which is why it is necessary to assign a stay of
proceedings, so that the matter can be analyzed in detail after the sieve of the
adversary system before the Judging Panel.

Therefore, in view of the foregoing, I grant the request for a stay of
proceedings.

Communicate the decision to the respectable lower Court, pursuant to
article 1.019, I, of the CPC.

Subpoena the appellee to, if it wishes, present its counterarguments,
within 15 (fifteen) days, pursuant to article 1.019, I, of the CPC.

Afterwards, the records are sent to the learned Attorney General's
Office.

Publish it. Subpoena it.

Belo Horizonte, March 9, 2022.

JUDGE ANGELA DE LOURDES RODRIGUES
Reporting Judge

Document signed electronically, Provisional Measure No. 2.200-2/2001 of
08/24/2001.
Signatory: Judge ANGELA DE LOURDES RODRIGUES, Certificate:
9323AF1239D6BE0769BF8EB8647DCFCE, Belo Horizonte, March 9, 2022 at
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CERTIFICATE OF TRANSLATOR’S COMPETENCE

I, Vitor Jacob Cruz, hereby certify that I am competent and proficient in both the English and
Portuguese languages, and that the above translation is a true, accurate, and complete rendition of the
Portuguese version of the original document,

oe. ¢

Signature: Date: ort lzar2
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